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                                                      SOUTHERN DISTRICT OF INDIANA
                                                         Roger A.G. Sharpe, Clerk
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